  

Case 2:07-cr-20156-AC-MKM ECF No. 8 filed 11/28/07 PagelD.42 Page 1of 12 /2-

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN [ra

 

SOUTHERN DIVISION MW in.

DY yD
lj eS vi

UNITED STATES OF AMERICA, Rea ge

Plaintiff, CRIMINAL NO. 07-20156 0

v. HON. AVERN COHN

D-2 ELFAT NADIM EL AQUAR, VIO. 18 U.S.C. § 371

a/k/a “Elfat Aouar,” 18 U.S.C. § 1425

a/k/a “Elfat Nadim Wymer,”
a/k/a “Elfat Chahine,”
a/k/a “Lola,”

Defendant.
/

THIRD SUPERSEDING INFORMATION

THE UNITED STATES ATTORNEY CHARGES:
General Allegations

1. On September 13, 1988, ELFAT NADIM EL AOUAR, also known as “El fat
Aouar,” also known as “Elfat Nadim Wymer,” also known as “Elfat Chahine,” also
known as “Lola,” defendant herein, first entered the United States from Lebanon on
a six month non-immigrant visitor visa, which was extended once to June 1 1, 1989.

2. After defendant’s visa expired on June 11, 1989, she remained in the
country residing in Taylor, Michigan with her sister, Nada Nadim Prouty, also known
as “Nada Nadim Al Aouar,” also known as Nada Nadim Deladurantaye,” also known
as “Nada Nadim Alley,” not named as a defendant herein, and Samar Khalil Nabbouh,

also known as “Samar Khalil Spinelli,” not named as a defendant herein.

 
   

Case 2:07-cr-20156-AC-MKM ECF No. 8 filed 11/28/07 PagelD.43 Page 2 of 12

3. On an unknown date between June 11, 1990 and November 15, 1990, while
having overstayed her visa, defendant offered money to an unemployed United States
citizen to marry her, expressly for the purpose of remaining in the United States and
evading U.S. immigration laws.

4. On November 15, 1990, defendant married the U.S. citizen in a civil
ceremony in Detroit, Michigan, As planned, defendant never lived as husband and
wife with her fraudulent “husband” and the marriage was never consummated
sexually. Rather, defendant continued to live with Nada Nadim Prouty and Samar
Khalil Spinelli.

5. Between November 29, 1990 and March 28, 1995, ELFAT NADIM EL
AQOUAR, then known as “Elfat Wymer,” defendant herein, submitted a series of
written statements under oath to immigration authorities purporting to verify the
validity of the fraudulent marriage.

6. On January 27, 1993, Nada Nadim Prouty, not named as a defendant herein,
had her boyfriend write a letter for submission into defendant’s immigration file
falsely claiming that defendant and her “husband” resided together and that the
boyfriend was “good friends” with the husband,

7. On February 1, 1993, defendant forged the signature of her fraudulent
husband on Form I-751, Petition to Remove the Conditions on Residence under
penalty of perjury and just below a certification that the marriage “was not for the

purpose of procuring an immigration benefit.”

 

 
   

Case 2:07-cr-20156-AC-MKM ECF No. 8 filed 11/28/07 PagelD.44 Page 3 of 12

8. On April 27, 1995, ELFAT NADIM EL AQUAR, defendant herein,
procured her United States citizenship under the name “Elfat Nadim Wymer.”

9, On June 30, 1995, ELFAT NADIM EL AOQUAR, defendant herein, caused
to be filed in the Wayne County, Michigan, Circuit Court a Complaint for Divorce
wherein she falsely alleged that she and her fraudulent husband “lived and cohabited
together as husband and wife until on or about April 3, 1995.”

10, On or about, December 6, 1995, Defendant obtained a U.S. Passport based
upon her fraudulently obtained U.S. Citizenship, and thereafter renewed it when
required.

11, At various times between March 1, 1997 and April 28, 2006, defendant

traveled to, from and outside the United States on a U.S. Passport.

COUNT ONE
(Conspiracy — 18 U.S.C. § 371)

D-2 ELFAT NADIM EL AQUAR

The general allegations set forth above are hereby incorporated by reference
as if fully set forth herein.

From on or about April 10, 1990 through the date of this Information, within
the Eastern District of Michigan, Southern Division, and elsewhere, ELFAT NADIM
EL AQUAR, defendant herein, conspired and agreed together with Nada Nadim
Prouty, and others both known and unknown to the United States Attorney:

1) to defraud the United States of valuable benefits of U.S. citizenship

including U.S. passports and U.S. government employment; and

3

 

 
  

Case 2:07-cr-20156-AC-MKM ECF No. 8 filed 11/28/07 PagelD.45 Page 4 of 12

2) to commit the following offenses against the United States:
a. Marriage Fraud in violation of 8 U.S.C. § 1325(c);
b. Naturalization Fraud in violation of 18 U.S.C. § 1425(a);
¢. Perjury in violation 18 U.S.C. § 1546;

d. False Statements Under Oath in Naturalization Proceedings
in violation of 18 U.S.C. § 1015(a):

e. Use of Fraudulently Procured Proof of U.S. Citizenship
in violation of 18 U.S.C. § 1015{c);

f. False Statements to Government Agents
in violation of 18 U.S.C. § 1001; and

g. Use of Fraudulently Procured U.S. Passports
in violation of 18 U.S.C, § 1542,
Ways, Manner and Means

The ways, manner and means of the conspiracy are described as follows.

It was part of the conspiracy that ELFAT NADIM EL AQUAR, defendant
herein, and other co-conspirators, entered the United States from Lebanon on a non-
immigrant student or visitor visa.

It was further a part of the conspiracy that ELFAT NADIM EL AOQUAR, and
other co-conspirators, overstayed their non-immigrant visas or otherwise failed to
depart the United States as scheduled on their visa.

It was further a part of the conspiracy that the alien members of the conspiracy,

including ELFAT NADIM EL AOQUAR, with the assistance of one another, located

U.S. citizens willing to marry them in exchange for money.

 

 
   

Case 2:07-cr-20156-AC-MKM ECF No. 8 filed 11/28/07 PagelD.46 Page 5of 12

Tt was further a part of the conspiracy that ELFAT NADIM EL AOQUAR, and
other co-conspirators, entered into marriages with the hired U.S. citizens in name
only, having no intention of living together as husband and wife and solely for
purposes of evading U.S. immigration laws,

It was further a part of the conspiracy that ELFAT NADIM EL AOQUAR, and
other co-conspirators, caused their U.S. citizen husbands to sign immigration
documents under oath verifying the validity of the fraudulent marriages and falsely
claiming to be residing with their wives.

It was further a part of the conspiracy that ELFAT NADIM EL AQUAR, and
other co-conspirators, resided together at the same address both before and after their
malriage ceremonies.

It was further a part of the conspiracy that ELFAT NADIM EL AQUAR, and
other co-conspirators, in coordination with one another, falsified letters claiming to
know their fraudulent husbands and verifying the legitimacy of the fraudulent
marriages,

It was further a part of the conspiracy that ELFAT NADIM EL AOQUAR, and
other co-conspirators, in coordination with one another, forged letters by real or
fictional individuals purporting to verify the legitimacy of the fraudulent marriages.

It was further a part of the conspiracy that ELFAT NADIM EL AQUAR, and
other co-conspirators, in coordination with one another, forged the signatures of their

fraudulent husbands on official immigration documents.

 
   

Case 2:07-cr-20156-AC-MKM ECF No. 8 filed 11/28/07 PagelD.47 Page 6 of 12

It was further a part of the conspiracy that ELFAT NADIM EL AOUAR, and
other co-conspirators, served as references for one another to backstop any inquiries
into their fraudulent marriages.

It was further a part of the conspiracy that ELFAT NADIM EL AOUAR, and
other co-conspirators, obtained documentation permitting them to permanently live
and reside in the United States.

{t was further a part of the conspiracy that ELFAT NADIM EL AOQUAR, and
other co-conspirators, traveled internationally in and out of the United States once
they had obtained permission to permanently live and reside in the United States.

It was further a part of the conspiracy that ELFAT NADIM EL AQUAR, and
other co-conspirators, obtained United States citizenship and naturalization
certificates as proof of their citizenship.

It was further a part of the conspiracy that ELFAT NADIM EL AOQUAR, and
other co-conspirators, in coordination with one another, divorced their fraudulent
U.S. citizen husbands shortly after obtaining their naturalization certificates.

It was further a part of the conspiracy that ELFAT NADIM EL AOQUAR, and
other co-conspirators, in coordination with one another, caused documents containing
false statements attesting to the validity of the marriages to be submitted to the Wayne
County (Michigan) Circuit Court to effectuate divorce proceedings. Like the
marriages and inumegration file submissions, the divorces were coordinated, timed,

and scripted, utilizing the same mailing address and the same attorney.

 
   

Case 2:07-cr-20156-AC-MKM ECF No. 8 filed 11/28/07 PagelD.48 Page 7 of 12

It was further a part of the conspiracy that ELFAT NADIM EL AOQUAR, and
other co-conspirators, utilized their naturalization certificates to obtain U.S. passports
permitting them to travel internationally as U.S. citizens.

It was further a part of the conspiracy that ELFAT NADIM EL AQUAR, and
other co-conspirators, utilized their U.S. passports to travel to various countries
around the world as U.S. citizens.

It was further a part of the conspiracy that ELFAT NADIM EL AQUAR, and
her co-conspirators, utilized their naturalization certificates and U.S. passports, as
proof of their U.S. citizenship, to, among other things, obtain U.S. government
employment only available to U.S. citizens, including employments a Special Agent
of the Federal Bureau of Investigation, an employee of the Central Intelligence
Agency, and a commissioned officer in the U.S. military, and to obtain security
clearances and access to sensitive U.S. government secrets, sources and methods not
otherwise available to them.

Overt Acts

In furtherance of the conspiracy, and to effect the objects thereof, ELFAT
NADIM EL AQUAR, defendant herein, and her co-conspirators committed and
caused to be committed the following overt acts, among others, in the Eastern District
of Michigan and elsewhere: |

1, While applying for employment with the Federal Bureau of Investigation,
on or about April 21, 1997, Nada Nadim Prouty, then known as “Nada Nadim Alley,”

signed Form FD-140 stating that her divorce from her first marriage was due to
 
 

 

 

Case 2:07-cr-20156-AC-MKM ECF No. 8 filed 11/28/07 PagelD.49 Page 8 of 12

“irreconcilable differences.”

2. While applying for employment with the Federal Bureau of Investigation,
on or about April 21, 1997, Nada Nadim Prouty, then known as “Nada Nadim Alley,”
signed Form FD-140 referencing her naturalization certificate number as proof of her
U.S. citizenship.

3. While applying for employment with the Federal Bureau of Investigation,
on or about April 21, 1997, Nada Nadim Prouty, then known as “Nada Nadim Alley,”
‘signed Form FD-140 listing Samar Khalil Spinelli, also known as “Samar Khalil
Nabbouh,” not named as a defendant herein, as a reference.

4. While applying for employment with the Federal Bureau of Investigation,
on or about April 21, 1997, Nada Nadim Prouty, then known as “Nada Nadim Alley,”
signed Form FD-140 stating that she was not “aware of any information about
[her]self or any person with whom [she is or has] been closely associated (including
relatives and roommates) which might tend to reflect unfavorably on [her] reputation,
morals [or] character... .”

5. While applying for employment with the Federal Bureau of Investigation,
on or about April 21, 1997, Nada Nadim Prouty, then known as “Nada Nadim Alley,”
signed Form FD-140 referencing the naturalization certificate number of defendant.

6. While applying for employment with the Federal Bureau of Investigation,
on or about April 21, 1997, Nada Nadim Prouty, then known as “Nada Nadim Alley,”
signed Form FD-140 listing ELFAT NADIM EL AOQUAR, defendant herein, as a

reference,
   

 

Case 2:07-cr-20156-AC-MKM ECF No. 8 filed 11/28/07 PagelD.50 Page 9 of 12

7. On October 7, 1998, ELFAT NADIM EL AQUAR, defendant herein, was
interviewed by the FBI as part of defendant Nada Nadim Prouty’s background check,
providing no derogatory information to the FBI notwithstanding her knowledge of
Nada Nadim Prouty’s fraudulent marriage, naturalization fraud and participation in
this conspiracy.

8. On or about September 11, 1998, Nada Nadim Prouty, then known as “Nada
Nadim Alley,” told FBI Special Agent John Camera that she was concealing no
matters in her background which could be used for purposes of pressuring or
influencing her.

9. On or about October 15, 1998, Samar Khalil Spinelli, also known as “Samar
Khalil Nabbouh,” not named as a defendant herein, told an FBI Special Agent that
she was not aware of any activity or conduct in the background of Nada Nadim
Prouty, then known as “Nada Nadim Alley,” which could be used in any way to
subject defendant to influence, pressure, coercion or compromise, or which would
negatively reflect upon defendant’s character.

10. On or about October 15, 1998, Talal Khalil Chahine, not named as a
defendant herein, told a FBI Special Agent that he was not aware of any activity or
conduct in the background of Nada Nadim Prouty, then known as “Nada Nadim
Alley,” which could be used in any way to subject defendant to influence, coercion
or compromise, or which would negatively reflect upon her character.

11. While applying for employment with the Central Intelligence Agency
(CIA), on or about February 15, 2003, Nada Nadim Prouty, signed Form SF-86
 

Case 2:07-cr-20156-AC-MKM ECF No.8 filed 11/28/07 PagelID.51 Page 10 of 12

referencing her naturalization certificate number as proof of her U.S. citizenship.

12. While applying for employment with the CIA, on or about February 15,
2003, Nada Nadim Prouty, signed Form SF-86 referencing her fraudulent marriage
and identifying her fraudulent husband as a former “spouse.”

13. While applying for employment with the CIA, on or about February 15,
2003, Nada Nadim Prouty, signed Form SF-86 referencing the naturalization
certificate number of her sister, ELFAT NADIM EL AOUAR, defendant herein, as
proof of her sister’s U.S. citizenship.

All in violation of Title 18, United States Code, Section 371.

COUNT TWO
(Naturalization Fraud — 18 U.S.C. § 1425)

D-1 ELFAT NADIM EL AOUAR

The general allegations set forth above are hereby incorporated by reference

as if fully set forth herein.

On or about April 27, 1995, within the Eastern District of Michigan, Southern
Division, and elsewhere, ELFAT NADIM EL AQUAR, defendant herein, knowingly

procured, and attempted to procure, contrary to law, her own naturalization as a

LO
   

 

Case 2:07-cr-20156-AC-MKM ECF No.8 filed 11/28/07 PagelID.52 Page 11 of 12

United States citizen, all in violation of Title 18, United States Code, Section
1425(a).

STEPHEN J. MURPHY
United States Attorn
a

Tt ———

ERIC M. STRAUS
Chief, National Security Unit

AK. EE Ee

KENNETH R. CHADWELL
Assistant United States Attorney

oS

MARK J, JEBS
Special Assistant U.S. Attorney

Dated: November 4% 2007

11
 

Case 2:07-cr-20156-AC-MKM ECF No.8 filed 11/28/07 PagelID.53 Page 12 of 12

 

United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan 07-20156

 

 

 

NOTE: lt is the responsibility of the Assistant U.S. Attornay signing this form to complete it accurately in all respects,

 

“Companion Caseé'Information
This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned: Avern Cohn

   
    

“=f Companion Case Number:

 

 

 

 

OC] Yes i] No AUSA's Initials: ke“ Yee

 

Case Title: USA v. ELFAT NADIM EL AOQUAR

 

County where offense occurred: Wayne

Check One: kg) Felony O Misdemeanor [] Petty
Indictment/_X__information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [(Gase number: |
___Indictment/____ Information --- based upon LCrR 57.10 (d) (Complete Superseding section below].

 

Superseding Case Informati

 

 

 

- Superseding to Case No: 07-20156 Judge: Avern Cohn

 

 

Original case was terminated; no additional charges or defendants.

Corrects errors; no additional charges or defendants.

invelves, for plea purposes, different charges or adds counts.

Embraces same subject matter but adds the additional defendants or charges below:

KOOO

Defendant name Charges

D-2 Elfat Nadim El Aouar 18 U.S.C. §371-Conspiracy
18 U.S.C. § 1425-Procurement of citizenship or
naturalization unlawfully

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

November 28, 2007 Aha £66 ©C-E

Date KENNETH R. CHADWELL
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226-3277
Phone: (313) 226-9698
Fax: (313) 226-4679
E-Mail address: kenneth.chadwell@usdoj.gov
Attorney Bar #: P39121

' Companion cases ara matters in which it appears that (1) sudstantially similar evidence will be oflerod at trial, (2) the same or related parties are present, and the cases arisa aut of the
seine tfangacton of occurrence Cases may be companion cases even though one of them may have airaady bean terminated.
